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 12   (Additional counsel listed on next page)
 13                          UNITED STATES DISTRICT COURT
 14                         CENTRAL DISTRICT OF CALIFORNIA
 15    YASSIR FAZAGA, et al.                          No. 8:11-cv-00301-CJC-VBK
 16
                    Plaintiffs,                       GOVERNMENT
 17           v.                                      DEFENDANTS’ MOTION FOR
 18                                                   A STAY OF PROCEEDINGS
       FEDERAL BUREAU OF                              PENDING PETITION FOR
 19    INVESTIGATION, et al.,                         WRIT OF CERTIORARI
 20
                    Defendants.                       DATE: October 5, 2020
 21                                                   TIME: 1:30 PM
 22                                                   JUDGE: Hon. Cormac J. Carney
                                                      CRTRM: 9B
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  1                   NOTICE OF MOTION AND MOTION FOR A
                     STAY OF PROCEEDINGS PENDING PETITION
  2                         FOR WRIT OF CERTIORARI
  3          PLEASE TAKE NOTICE that on Monday, October 5, 2020, at 1:30 p.m., or
  4   as soon thereafter as counsel may be heard, before The Honorable Cormac J.
  5   Carney, in the Ronald Reagan Federal Building and United States Courthouse, 411
  6   West Fourth Street, Courtroom 9B, Santa Ana, CA, 92701, Defendants United
  7   States, Federal Bureau of Investigation, and all Government Defendants sued in
  8   their official capacity (collectively “Government Defendants”), will move, and
  9   hereby do move, for a stay of further proceedings in this case pending: (1) a
 10   decision by the United States on whether to petition the Supreme Court for a writ of
 11   certiorari; (2) a decision by the Supreme Court on the writ of certiorari, if a petition
 12   is filed; and (3) resolution of proceedings in the Supreme Court, if a writ of
 13   certiorari is granted. The Government’s request for a stay does not extend to
 14   briefing in connection with the individual capacity defendants’ renewed motions to
 15   dismiss Bivens claims against them. This motion is made following the conference
 16   of counsel pursuant to L.R. 7-3, which took place on August 17, 2020, and is
 17   supported by the accompanying Memorandum of Points and Authorities.
 18
             Dated: September 1, 2020           Respectfully submitted,
 19
 20                                             ETHAN P. DAVIS
                                                Acting Assistant Attorney General
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 22                                             /s/ Anthony. J. Coppolino
                                                ANTHONY J. COPPOLINO
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                                                U.S. Department of Justice
 28                                             Civil Division, Federal Programs Branch
      Gov’t Defs.’ Notice of Mot. and Mot. for a Stay of Proceedings
      Pending Petition for Writ of Certiorari                                           Page 1
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      Pending Petition for Writ of Certiorari                                           Page 2
